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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett M cK inley D irksen U nited States Courthouse                                  O ffice of the C lerk
        R oom 2722 - 219 S. D earborn Street                                         Phone: (312) 435-5850
               C hicago, Illinois 60604                                              w w w .ca7.uscourts.gov




                                                        FINAL JUDGMENT
  March 27, 2012



                                                              Before

                                                 WILLIAM J. BAUER, Circuit Judge

                                                 JOHN DANIEL TINDER, Circuit Judge

                                                 DAVID F. HAMILTON, Circuit Judge


                                            BEVERLY E. ROBINSON,
                                            Plaintiff - Appellant

  No.: 11-3243                              v.

                                            M ORGAN STANLEY, et al.,
                                            Defendants - Appellees

  Originating Case Information:

  District Court No: 1:06-cv-05158
  Northern District of Illinois, Eastern Division
  District Judge James F. Holderman




The judgment of the District Court is AFFIRMED, with costs, in accordance with the decision
of this court entered on this date.




  form name: c7_FinalJudgment(form ID: 132)
